Case 1:16-cr-20893-FAM Document 119 Entered on FLSD Docket 02/05/2018 Page 1 of 2



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                                         SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO . 16-20893-CR-M ORENO
U NITED STAT ES O F A M ER ICA :

              Plaintiff,
 VS.

 M ONTY RAY GROW ,

              D efendant.
                                    /

                                RELEASE OF EXH IBITS


       The tmdersigned hereby acknowledgesreceiptofa11exhibits in the above-styled cause

 offered bythatparty,and shallretain the sam ependingappealorftzrtherproceedingsinthiscause,

 and each doeshereby releasetheClerk ofCourt,from furtherresponsibility.



 Dated: W S-l1%
                                          CounselforDefendant-D anielRashbaum
                                                               Jeffrey M arcus
                                                               Kathryn M eyers




  EX HIBI    RELEA SED Y :


  SHIRLEY CHRISTI ,Deputy Clerk


  D ated:
            :ek ,      5    2018
Case 1:16-cr-20893-FAM Document 119 Entered on FLSD Docket 02/05/2018 Page 2 of 2



                                            UN ITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

                                            CA SE NO . 16-20893-CR-M ORENO
UNITED STATES OF AM ERICA
                Plaintiff,
V S.

 M ONTY RAY GROW ,

                D efendant.
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                                    R ELEA SE O F EX H IBITS


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 and each doeshereby releasethe Clerk ofCourq from f'urtherresponsibility.



 Dated: J/r//6                               Couns f rG         ent-K evin Larsen
                                                                    Jon Juenger




 EX     ITS RELEA S          BY :

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 SH I E CH         STIE,Deputy Clerk


 Dated: -         ,
                       9e      2018
